17-10466-pb          Doc 1296      Filed 02/10/25 Entered 02/10/25 18:02:59               Main Document
                                                Pg 1 of 4
                                    Hearing Date and Time: March 27, 2025 at 3:00 p.m. (Eastern Time)
                                        Response Deadline: March 20, 2025 at 4:00 p.m. (Eastern Time)


Robert J. Feinstein, Esq.
Bradford J. Sandler, Esq.
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to the Plan Administrator

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :           Chapter 11
                                                               :
RUNWAY LIQUIDATION                                             :           Case No. 17-10466 (PB)
                                1
HOLDINGS, LLC, et al.,                                         :
                                                               :           Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x

    DECLARATION OF JOHN BOKEN IN SUPPORT OF PLAN ADMINISTRATOR’S
    MOTION FOR ENTRY OF FINAL DECREE CLOSING THE CHAPTER 11 CASES

          I, John Boken, declare as follows:

          1.        I am a Partner and Managing Director of AlixPartners and the Chief Financial

Officer and Authorized Representative of the Plan Administrator for Runway Liquidation

Holdings, LLC. I submit this declaration in support of the Plan Administrator’s Motion for Entry

of Final Decree Closing the Chapter 11 Cases (the “Motion”).2 I am over the age of 18 and

competent to testify.




1
     The Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
     Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC
     (6857) and Runway Liquidation, LLC (5942).
2
     Capitalized terms have the meanings ascribed to them in the definitions set forth in the Motion.


4922-5471-1819.3 08467.001
17-10466-pb          Doc 1296     Filed 02/10/25 Entered 02/10/25 18:02:59           Main Document
                                               Pg 2 of 4



          2.        Except as otherwise noted, I have personal knowledge of the matters set forth

herein. All facts set forth in this declaration are based on my personal knowledge, my discussions

with other members of the Plan Administrator’s personnel and staff and my review of relevant

documents. In making this declaration, I have relied in part on information and materials that the

Plan Administrator’s personnel and advisors have gathered, prepared, verified, and provided to

me, in each case under the Plan Administrator’s ultimate supervision, at my direction, and/or for

my benefit in preparing this declaration. If I were called to testify as a witness in this matter, I

could and would testify competently to the facts set forth herein.

          3.        On July 26, 2017, the Court entered its Findings of Fact, Conclusions of Law, and

Order Confirming the Amended Joint Plan of Reorganization of BCBG Max Azria Global

Holdings, LLC and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket

No. 591] confirming the Plan.

          4.        On July 31, 2017, the Effective Date of the Plan occurred. See Notice of (I) Entry

of Order Confirming the Amended Joint Plan of Reorganization of BCBG Max Azria Global

Holdings, LLC and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code and (II)

Occurrence of the Effective Date [Docket No. 601].

          5.        Pursuant to the Plan, the Plan Administrator was appointed on the Effective Date

“to implement the Plan and to make distributions thereunder and wind down the businesses and

affairs of the Debtors and Post-Effective Date Debtors.” Plan art. IV.E.

          6.        On December 9, 2019, the Plan Administrator filed the Motion for Entry of Order

and Final Decree Closing the Chapter 11 Cases of Runway Liquidation Intermediate Holdings,

LLC, MR Liquidation, LLC, and MMH Liquidation, LLC Only, Waiving Requirement of Further

Post-Confirmation Reporting in Such Chapter 11 Cases, and Updating Case Caption [Docket No.




4922-5471-1819.3 08467.001                          2
17-10466-pb          Doc 1296       Filed 02/10/25 Entered 02/10/25 18:02:59                     Main Document
                                                 Pg 3 of 4



1194]. A final decree closing the cases of Runway Liquidation Intermediate Holdings, LLC, MR

Liquidation, LLC, and MMH Liquidation, LLC was entered on December 17, 2019 [Docket No.

1198]. As a result, the chapter 11 cases of just Runway Liquidation Holdings, LLC and Runway

Liquidation, LLC (the “Remaining Cases”) remain open.

          7.        There are no pending proofs of claim filed against the Debtors. All applicable bar

dates and deadlines for filing prepetition or administrative claims against the Debtors have lapsed.

All disputes and controversies in the Debtors’ Chapter 11 Cases have been resolved.

          8.        On March 8, 2017, the Debtors’ indirectly-owned French subsidiary, BCBG Max

Azria Group SAS (hereinafter “BCBG France”),3 which operated in Europe, was placed in judicial

bankruptcy reorganization4 by the Romans-sur-Isère Commercial Court. On October 16, 2017, the

Romans-sur-Isère Commercial Court declared BCBG France’s judicial liquidation. As a result of

the declaration of liquidation of BCBG France, the approximately 166 employees working for

BCBG France were made redundant and, ultimately, were laid off by the court-appointed

liquidator. Employees took legal action in France to challenge the legitimacy of the economic

reason for their dismissal, which resulted in a ruling by the labor court in France for damages

totaling approximately €2.7 million joint and several against co-defendants BCBG France, BCBG

Europe and BCBG Max Azria Group LLC as “co-employers”. This ruling has not been reduced to

judgment in the United States against either of the Post-Effective Date Debtors, and no proof of

claim was ever filed by the French employees in the bankruptcy case.5


3
     BCBG France was 100% owned by SARL BCBG Max Azria Group Europe Holdings (hereinafter “BCBG
     Europe”), which had no operating activities. BCBG France.
4
     “Judicial bankruptcy reorganization” is the French equivalent of Chapter 11 in the United States.
5
     On June 9, 2017, BCBG France filed proofs of claim against three of the Debtors in the Bankruptcy Court
     asserting damages claims arising from the Debtors’ alleged termination of their trademark and wholesale
     agreements and asserting a right of setoff (“Claims 901, 902 & 903”). All of Claims 901, 902 and 903 have since
     been withdrawn by BCBG France.



4922-5471-1819.3 08467.001                                3
17-10466-pb   Doc 1296   Filed 02/10/25 Entered 02/10/25 18:02:59   Main Document
                                      Pg 4 of 4
